                             Case 16-18041        Doc 211        Filed 11/17/20    Page 1 of 33




                                          UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF MARYLAND
                                                 BALTIMORE DIVISION

       In re: PEERLESS SPECIALTY FLOORING,                   §      Case No. 16-18041-RED
              LLC                                            §
                                                             §
                                                             §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




               Charles R. Goldstein, chapter 7 trustee, submits this Final Account, Certification that the Estate has
      been Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $820,180.89                              Assets Exempt: N/A
      (without deducting any secured claims)

      Total Distributions to Claimants:   $483,043.48               Claims Discharged
                                                                    Without Payment: N/A


      Total Expenses of Administration:    $653,062.17




                3) Total gross receipts of $1,142,457.63 (see Exhibit 1), minus funds paid to the debtor and third
      parties of $6,351.98 (see Exhibit 2), yielded net receipts of $1,136,105.65 from the liquidation of the property
      of the estate, which was distributed as follows:




UST Form 101-7-TDR ( 10 /1/2010)
                            Case 16-18041        Doc 211       Filed 11/17/20       Page 2 of 33




                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                    $157,755.03        $2,074,319.30          $445,543.48          $445,543.48
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00          $826,632.93          $796,523.23          $653,062.17


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                               $38,404.70          $148,054.81           $61,896.77                 $0.00

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                              $758,984.23       $10,917,991.77       $10,714,026.70           $37,500.00


   TOTAL DISBURSEMENTS                           $955,143.96       $13,966,998.81       $12,017,990.18         $1,136,105.65




                 4) This case was originally filed under chapter 7 on 06/14/2016. The case was pending for 53
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        10/27/2020                        By: /s/ Charles R. Goldstein
                                                                          Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-TDR ( 10 /1/2010)
                                  Case 16-18041              Doc 211         Filed 11/17/20           Page 3 of 33




                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1             RECEIVED

 Refunds and Rebates                                                                            1229-000                $24,033.60

 Tools                                                                                          1129-000                $46,302.50

 Account at First Community, xxxxxx                                                             1129-000                  $366.56

 2007 Ford Van                                                                                  1129-000                 $2,000.00

 2005 Ford Truck                                                                                1129-000                 $2,000.00

 Avoidance Actions                                                                              1241-000                $75,400.00

 Econoline 2008                                                                                 1129-000                 $2,000.00

 2006 Ford Van                                                                                  1129-000                 $4,800.00

 2 Forklifts                                                                                    1129-000                $14,500.00

 Claim in personal bankruptcy of principal                                                      1229-000                $93,287.00

 2002 Ford Van                                                                                  1129-000                  $300.00

 Accounts Receivable                                                                            1121-000               $874,467.97

 Murdock Trailer                                                                                1129-000                 $3,000.00

                             TOTAL GROSS RECEIPTS                                                                    $1,142,457.63

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




UST Form 101-7-TDR ( 10 /1/2010)
                            Case 16-18041          Doc 211        Filed 11/17/20     Page 4 of 33




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                     UNIFORM        $ AMOUNT
   PAYEE                                           DESCRIPTION
                                                                                    TRAN. CODE         PAID

 Clerk of the U.S. Bankruptcy Court - Unclaimed Funds                                8500-001              $50.11
 Antoine L. McElveen
 Jerome Hammerbacher Jr             Distribution of 2016 BC/BS Insurance Rebate;     8500-000             $670.66
                                    $388.99
                                    Distribution of returned employee paid health
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]; $281.67
 Myron Dighans                      Distribution of returned employee paid health    8500-000              $28.39
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]
 Joel Eric Rocha                    Distribution of 2016 BC/BS Insurance Rebate;     8500-000           $1,172.62
                                    $570.60
                                    Distribution of returned employee paid health
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]; $602.02
 Brendan Connolly                   Distribution of returned employee paid health    8500-000             $284.11
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]; $124.33
                                    Distribution of 2016 BC/BS Insurance Rebate;
                                    $159.78
 Bonita R. Allen                    Distribution of 2016 BC/BS Insurance Rebate;     8500-000             $153.70
                                    $85.62
                                    Distribution of returned employee paid health
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]; $68.08
 Gary P. Stevens                    Distribution of 2016 BC/BS Insurance Rebate      8500-000              $55.47

 Clerk of the U.S. Bankruptcy Court - Unclaimed Funds                                8500-001              $12.59
 Karen A. Scardina
 Christopher Farrell                Distribution of 2016 BC/BS Insurance Rebate;     8500-000              $79.93
                                    $66.36
                                    Distribution of returned employee paid health
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]; $13.57
 Michael W. Kostiha                 Distribution of returned employee paid health    8500-000             $132.95
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]; $42.96
                                    Distribution of 2016 BC/BS Insurance Rebate;
                                    $89.99


UST Form 101-7-TDR ( 10 /1/2010)
                            Case 16-18041          Doc 211        Filed 11/17/20    Page 5 of 33




 Ernest E. Fowler                   Distribution of returned employee paid health   8500-000        $153.70
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]; $68.08
                                    Distribution of 2016 BC/BS Insurance Rebate;
                                    $85.62
 Paul Allan A. Jacobs               Distribution of returned employee paid health   8500-000        $279.60
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]; $122.23
                                    Distribution of 2016 BC/BS Insurance Rebate;
                                    $157.37
 Deanna A. Dighans                  Distribution of returned employee paid health   8500-000       $1,404.50
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]; $707.25
                                    Distribution of 2016 BC/BS Insurance Rebate;
                                    $697.25
 Maricka Stephens                   Distribution of returned employee paid health   8500-000         $16.39
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]
 Clerk of the U.S. Bankruptcy Court - Unclaimed Funds                               8500-001         $31.24
 Martin Hammonds
 CLERK OF THE US                    Unclaimed Funds                                 8500-001        $492.59
 BANKRUPTCY COURT
 Christopher Corbett                Distribution of returned employee paid health   8500-000        $122.23
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]
 Jeffrey A. Benedetto               Distribution of returned employee paid health   8500-000        $671.01
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]; $352.21
                                    Distribution of 2016 BC/BS Insurance Rebate;
                                    $318.80
 James Ramsay                       Distribution of 2016 BC/BS Insurance Rebate     8500-000        $133.15

 Clerk of the U.S. Bankruptcy Court - Unclaimed Funds                               8500-001        $111.33
 Christopher Caldwell
 Kevin M. O'Donnell                 Distribution of returned employee paid health   8500-000        $111.33
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]
 Clerk of the U.S. Bankruptcy Court - Unclaimed Funds                               8500-001         $71.04
 Angel Yeager
 Antonio E. Lashley                 Distribution of 2016 BC/BS Insurance Rebate;    8500-000         $98.21
                                    $85.62
                                    Distribution of returned employee paid health
                                    insurance premium for 2015 (non-estate
                                    funds) per Order entered 10/4/2017 [Docket
                                    No. 156]; $12.59



UST Form 101-7-TDR ( 10 /1/2010)
                               Case 16-18041       Doc 211     Filed 11/17/20   Page 6 of 33




 Clerk of the U.S. Bankruptcy Court - Unclaimed Funds                           8500-001                     $15.13
 Chad J. Boyd
 TOTAL FUNDS PAID TO DEBTOR
                                                                                                           $6,351.98
       & THIRD PARTIES




EXHIBIT 3 - SECURED CLAIMS



                                      UNIFORM           CLAIMS
    Claim                                                                CLAIMS             CLAIMS         CLAIMS
               CLAIMANT                TRAN.          SCHEDULED
     NO.                                                                ASSERTED           ALLOWED          PAID
                                       CODE         (from Form 6D)


     10       First Interstate Bank    4110-000         $154,925.90    $2,073,675.78       $444,899.96   $444,899.96

  SECAMST     American State Bank      4210-000               $0.00         $643.52           $643.52       $643.52

     N/F      American State           4110-000           $2,829.13              NA                NA            NA

                TOTAL SECURED                           $157,755.03    $2,074,319.30       $445,543.48   $445,543.48




UST Form 101-7-TDR ( 10 /1/2010)
                                Case 16-18041     Doc 211   Filed 11/17/20    Page 7 of 33




EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM       CLAIMS           CLAIMS            CLAIMS          CLAIMS
   PAYEE                                TRAN.      SCHEDULED         ASSERTED          ALLOWED           PAID
                                        CODE

 Trustee, Fees - Charles R.            2100-000              NA        $57,213.17       $57,213.17     $20,379.08
 Goldstein
 Trustee, Expenses - CHARLES R.        2200-000              NA          $401.00             $401.00     $142.83
 GOLDSTEIN, Trustee
 Attorney for Trustee Fees - 3Cubed    3110-000              NA       $103,000.00       $99,027.00     $99,027.00
 Advisory Servives, LLC
 Attorney for Trustee Fees -           3110-000              NA        $75,191.00       $72,290.68     $72,290.68
 WHITEFORD, TAYLOR &
 PRESTON, LLP
 Accountant for Trustee, Fees -        3310-000              NA       $162,286.50      $162,286.50     $57,805.73
 3Cubed Advisory Servives, LLC
 Accountant for Trustee, Expenses -    3320-000              NA         $2,932.62        $2,932.62      $1,044.59
 3Cubed Advisory Servives, LLC
 Auctioneer Fees - BSC America         3610-000              NA         $8,575.59        $8,575.59      $8,575.59

 Auctioneer Expenses - BSC             3620-000              NA         $7,655.45        $7,655.45      $7,655.45
 America
 Bond Payments - BOND                  2300-000              NA          $290.46             $290.46     $290.46

 Bond Payments - Insurance             2300-000              NA          $395.40             $395.40     $395.40
 Partners Agency, Inc
 Administrative Rent - Realty          2410-000              NA        $39,467.15       $39,467.15     $39,467.15
 Associates Fund X, LP
 Administrative Rent - The Realty      2410-000              NA         $8,308.87        $8,308.87      $8,308.87
 Associates Fund X, LP
 Insurance - CNA                       2420-750              NA         $2,790.68        $2,790.68      $2,790.68

 Insurance - CNA Insurance             2420-750              NA         $6,520.34        $6,520.34      $6,520.34

 Banking and Technology Service        2600-000              NA          $675.80             $675.80     $675.80
 Fee - Metropolitan Commercial
 Bank
 Banking and Technology Service        2600-000              NA         $4,383.11        $4,383.11      $4,383.11
 Fee - Rabobank, N.A.
 Chapter 7 Operating Case              2690-000              NA          $161.37             $161.37     $161.37
 Expenses - United States Treasury
 Other State or Local Taxes (post-     2820-000              NA          $130.00             $130.00     $130.00
 petition) - Colorado Department of
 Revenue
 Other State or Local Taxes (post-     2820-000              NA          $148.13             $148.13     $148.13
 petition) - Commonwealth of
 Massachusetts
 Other State or Local Taxes (post-     2820-000              NA              $3.00             $3.00        $3.00
 petition) - Ohio Treasurer of State
 Other Chapter 7 Administrative        2990-000              NA          $172.92             $172.92     $172.92
 Expenses - ADT Security Services


UST Form 101-7-TDR ( 10 /1/2010)
                             Case 16-18041      Doc 211    Filed 11/17/20        Page 8 of 33




 Other Chapter 7 Administrative      2990-000                NA             $4,255.67        $4,255.67        $4,255.67
 Expenses - BGE
 Other Chapter 7 Administrative      2990-000                NA        $200,000.00        $200,000.00       $200,000.00
 Expenses - Spartan Surfaces, Inc.
 Other Chapter 7 Administrative      2990-000                NA             $7,438.32        $7,438.32        $7,438.32
 Expenses - William H. Stepanick
 Attorney for Trustee Fees (Other    3210-000                NA        $123,542.50        $111,000.00       $111,000.00
 Firm) - WHITEFORD, TAYLOR &
 PRESTON, LLP
 Attorney for Trustee Expenses       3220-000                NA         $10,693.88              $0.00             $0.00
 (Other Firm) - WHITEFORD,
 TAYLOR & PRESTON, LLP
 TOTAL CHAPTER 7 ADMIN. FEES
                                                             NA        $826,632.93        $796,523.23       $653,062.17
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                             UNIFORM          CLAIMS              CLAIMS            CLAIMS               CLAIMS
         PAYEE
                            TRAN. CODE      SCHEDULED            ASSERTED          ALLOWED                PAID

                                                          None




UST Form 101-7-TDR ( 10 /1/2010)
                              Case 16-18041      Doc 211    Filed 11/17/20      Page 9 of 33




 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                       CLAIMS
                                      UNIFORM        CLAIMS
                                                                      ASSERTED           CLAIMS        CLAIMS
 CLAIM NO.          CLAIMANT           TRAN.      SCHEDULED
                                                                   (from Proofs of      ALLOWED         PAID
                                       CODE      (from Form 6E)
                                                                        Claim)

     5        Gary P. Stevens         5300-000             $0.00          $2,942.32       $2,942.32       $0.00


     7        Chris Farrell           5300-000             $0.00          $2,472.00       $2,472.00       $0.00


     9        Prince William County   5800-000             $0.00          $1,903.42       $1,903.42       $0.00


    11P       The Ohio Department     5800-000             $0.00          $2,022.02       $2,022.02       $0.00
              of Taxation

    14P       Comptroller of the      5800-000             $0.00         $32,589.00      $32,589.00       $0.00
              Treasury

    16P       Roesel Heck Co. Inc.    5100-000             $0.00         $38,404.70            $0.00      $0.00


    16P-2     Roesel Heck Co. Inc.    5100-000        $38,404.70         $38,404.70            $0.00      $0.00


    17P       Christopher Thomas      5300-000             $0.00          $1,096.00       $1,096.00       $0.00
              Corbett

     18       Ernest fowler           5300-000             $0.00          $2,380.62       $2,380.62       $0.00


     20       peerless specialty      5100-000             $0.00          $2,000.00       $2,000.00       $0.00
              flooring

     23       James Ramsey            5300-000             $0.00          $1,279.25       $1,279.25       $0.00


     25       Joseph DiGirolamo       5300-000             $0.00          $2,120.00       $2,120.00       $0.00


    26P       Brendan Connolly        5300-000             $0.00          $1,187.50       $1,187.50       $0.00


    28P       Internal Revenue        5800-000             $0.00          $9,348.64            $0.00      $0.00
              Service

    28P-2     Internal Revenue        5800-000             $0.00          $9,348.64       $9,348.64       $0.00
              Service

     33       Colorado Department     5800-000             $0.00            $556.00        $556.00        $0.00
              of Revenue

             TOTAL PRIORITY
            UNSECURED CLAIMS                          $38,404.70        $148,054.81      $61,896.77       $0.00



UST Form 101-7-TDR ( 10 /1/2010)
                            Case 16-18041         Doc 211    Filed 11/17/20      Page 10 of 33




 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                         CLAIMS
                                       UNIFORM         CLAIMS
                                                                        ASSERTED          CLAIMS         CLAIMS
 CLAIM NO.         CLAIMANT             TRAN.       SCHEDULED
                                                                     (from Proofs of     ALLOWED          PAID
                                        CODE       (from Form 6F)
                                                                          Claim)

     1       J.J Haines & Co LLC       7100-000              $0.00        $215,361.27     $215,361.27       $0.00


     2       HK Partners DC, LLC       7100-000              $0.00          $5,446.90       $5,446.90       $0.00


     3       LAQUINTA                  7100-000         $32,316.64         $11,212.47      $11,212.47       $0.00
             HOLDINGS INC

     4       nora systems              7100-000              $0.00         $28,784.39            $0.00      $0.00


    4 -2     nora systems              7100-000              $0.00         $28,784.39      $28,784.39       $0.00


     6       Shaw Industries, Inc.     7100-000         $61,148.62         $61,148.62      $61,148.62       $0.00


     8       J.A. Scheibel, Inc.       7100-000              $0.00        $144,925.83      $30,000.00       $0.00


    8 -2     J.A. Scheibel, Inc.       7100-000              $0.00        $144,925.83     $144,925.83       $0.00


    11U      The Ohio Department       7100-000              $0.00            $700.00        $700.00        $0.00
             of Taxation

     12      E470 Public Highway       7100-000              $0.00              $7.00            $7.00      $0.00
             Authority

     13      BGE                       7100-000              $0.00          $1,085.86       $1,085.86       $0.00


    14U      Comptroller of the        7100-000              $0.00          $1,730.00       $1,730.00       $0.00
             Treasury

     15      Hartford Fire Insurance   7100-000              $0.00      $9,723,722.00   $9,723,722.00       $0.00
             Company

    16U      Roesel Heck Co. Inc.      7100-000              $0.00         $66,028.63            $0.00      $0.00


   16U-2     Roesel Heck Co. Inc.      7100-000         $82,188.20         $66,028.63      $66,028.63       $0.00


    17U      Christopher Thomas        7100-000              $0.00              $4.00            $4.00      $0.00
             Corbett

     19      Floor experts inc         7100-000              $0.00          $1,443.30       $1,443.30       $0.00




UST Form 101-7-TDR ( 10 /1/2010)
                            Case 16-18041       Doc 211     Filed 11/17/20   Page 11 of 33




     21     RL carpet installation   7100-000               $0.00      $12,560.00      $12,560.00         $0.00
            company inc

     22     Frederick W. Ware        7100-000               $0.00       $1,373.75       $1,373.75         $0.00


     24     Yvette Plater            7100-000               $0.00        $604.00         $604.00          $0.00


    26U     Brendan Connolly         7100-000               $0.00       $6,600.00       $6,600.00         $0.00


     27     Michael Halebian & Co.   7100-000               $0.00        $696.08         $696.08          $0.00
            Inc.

    28U     Internal Revenue         7100-000               $0.00       $1,726.22            $0.00        $0.00
            Service

   28U-2    Internal Revenue         7100-000               $0.00       $1,726.22       $1,726.22         $0.00
            Service

     29     James Ramsey             7100-000               $0.00            $0.00           $0.00        $0.00


     30     James Ramsey             7100-000               $0.00       $1,279.25       $1,279.25         $0.00


     31     Capitol Indemnity        7100-000               $0.00     $325,000.00     $325,000.00         $0.00
            Corporation

     32     American State Bank &    7100-000         $1,000.00          $640.23         $640.23          $0.00
            Trust

     34     HK Partners DC, LLC      7100-000               $0.00       $5,446.90       $5,446.90         $0.00


     35     Tandus Centiva US,       7100-000        $22,447.04        $29,000.00      $29,000.00         $0.00
            LLC

  STMT001   JA Scheibel              7100-000               $0.00      $30,000.00      $30,000.00    $30,000.00


  STMT002   JJ Haines                7100-000                 NA             $0.00      $7,500.00     $7,500.00


    N/F     Bentley Prince Street    7100-000        $77,260.37                NA              NA           NA


    N/F     Celya Floors, LLC        7100-000         $5,804.70                NA              NA           NA


    N/F     Cintas Corporation       7100-000         $2,350.41                NA              NA           NA


    N/F     Commercial Carpet        7100-000             $213.50              NA              NA           NA
            Logistics

    N/F     Derek Keith Hahn         7100-000         $3,494.55                NA              NA           NA




UST Form 101-7-TDR ( 10 /1/2010)
                            Case 16-18041          Doc 211     Filed 11/17/20   Page 12 of 33




    N/F     Eugene Flooring             7100-000         $1,620.00              NA              NA   NA
            Systems LLC

    N/F     First interstate CC         7100-000        $17,047.02              NA              NA   NA


    N/F     Guernsey ofice              7100-000             $578.10            NA              NA   NA
            products

    N/F     Huddles and Jones           7100-000         $4,583.50              NA              NA   NA


    N/F     Inerface Americas           7100-000        $42,498.91              NA              NA   NA


    N/F     Jolash International        7100-000        $60,435.09              NA              NA   NA


    N/F     Julie Industries, Inc.      7100-000             $997.46            NA              NA   NA


    N/F     MR Flooring                 7100-000             $840.00            NA              NA   NA


    N/F     Mats Inc.                   7100-000         $7,887.85              NA              NA   NA


    N/F     Mohawk Factoring,           7100-000         $3,188.87              NA              NA   NA
            LLC

    N/F     Nora Systems Inc.           7100-000        $28,783.23              NA              NA   NA


    N/F     Philips Office Solutions    7100-000             $887.50            NA              NA   NA


    N/F     Pinea Specialty Floors      7100-000         $6,312.95              NA              NA   NA


    N/F     RL Carpet Installation      7100-000             $601.60            NA              NA   NA
            Inc.

    N/F     Ryder Truck Rental Inc      7100-000             $197.75            NA              NA   NA
            d/b/a
            Ryder Transportation
            Services

    N/F     Spartan Surfaces            7100-000       $242,670.41              NA              NA   NA


    N/F     Stafford Disributors Inc.   7100-000             $488.32            NA              NA   NA



    N/F     Stanley Stephans            7100-000         $1,360.10              NA              NA   NA


    N/F     Super 8                     7100-000         $2,847.70              NA              NA   NA


    N/F     THE REALTY                  7100-000        $31,907.63              NA              NA   NA
            ASSOCIATES FUND
            X, L.P.


UST Form 101-7-TDR ( 10 /1/2010)
                          Case 16-18041       Doc 211     Filed 11/17/20   Page 13 of 33




    N/F     Tony Palmer            7100-000         $1,189.36                NA               NA           NA


    N/F     Vaughan Express inc    7100-000         $2,511.20                NA               NA           NA


    N/F     Verizon                7100-000             $352.19              NA               NA           NA


    N/F     Virginia Abrasives     7100-000             $825.86              NA               NA           NA


    N/F     Worldwide express      7100-000         $3,161.45                NA               NA           NA


    N/F     Wright Express         7100-000         $6,986.15                NA               NA           NA
            Financial Services

            TOTAL GENERAL
           UNSECURED CLAIMS                       $758,984.23     $10,917,991.77   $10,714,026.70   $37,500.00




UST Form 101-7-TDR ( 10 /1/2010)
                                                 Case 16-18041                 Doc 211           Filed 11/17/20              Page 14 of 33

                                                                  Form 1
                                                                                                                                                                  Exhibit 8
                                              Individual Estate Property Record and Report                                                                        Page: 1

                                                               Asset Cases
Case No.:     16-18041-RED                                                                              Trustee Name:      (400340) Charles R. Goldstein
Case Name:         PEERLESS SPECIALTY FLOORING, LLC                                                     Date Filed (f) or Converted (c): 06/14/2016 (f)
                                                                                                        § 341(a) Meeting Date:       07/20/2016
For Period Ending:            10/27/2020                                                                Claims Bar Date:      09/18/2016

                                         1                                      2                      3                      4                   5                    6

                            Asset Description                                Petition/         Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                 (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                              Values                 Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                             Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                                        and Other Costs)

    1       Account at FIC ACH, xxxxxx                                              300.00                      0.00                                    0.00                        FA
            Subject to the blanket lien of FIB

    2       Account at First Interstate, xxxxxx                              137,709.42                         0.00                                    0.00                        FA
            Subject to the blanket lien of FIB

    3       Account at First Community, xxxxxx                                      366.56                      0.00                                  366.56                        FA
            Subject to the blanket lien of FIB

    4       Accounts Receivable                                            2,144,393.19                         0.00                           874,467.97                           FA
            Subject to the blanket lien of FIB; trustee working with
            lender to collect

    5       Inventory - Raw Material                                         560,165.18                         0.00                                    0.00                        FA
            Subject to the blanket lien of FIB; Remnant inventory
            sold at auction with tools. See Asset #18

    6       Inventory - Colorado                                              15,362.49                         0.00                                    0.00                        FA
            Subject to the blanket lien of FIB; not administered

    7       Office furniture and supplies                                       1,300.00                        0.00                                    0.00                        FA
            Subject to the blanket lien of FIB; Sold at Auction, see
            asset #

    8       Ext Van                                                             5,200.00                        0.00                                    0.00                        FA
            No title supplied; unclear if owned at time of filing; to be
            abandoned at closing

    9       2010 Ford Van                                                     12,850.00                         0.00         OA                         0.00                        FA
            Abandoned - Docket #61

   10       2005 Ford Truck                                                   10,895.95                    1,356.48                               2,000.00                          FA
            VIN x71750; Sold to J. Benedetto

   11       2006 Ford Cargo Van                                               10,338.00                    1,200.00                                     0.00                        FA
            VIN x9774; MT title; minimal value; to be sold to former
            employee; former employee decided not to buy - too
            much repair work; no value to estate.

   12       Econoline 2008                                                    18,688.80                    2,000.00                               2,000.00                          FA
            Vin x19538; Sold to J. Benedetto; scheduled value
            based on initial purchase price.

   13       2002 Ford Van                                                       8,389.11                     300.00                                   300.00                        FA
            VIN x6960; Sold to B Connally

   14       2007 Ford Van                                                     32,100.38                    2,000.00                               2,000.00                          FA
            VIN x25114; Sold to J. Benedetto

   15       Murdock Trailer                                                     6,100.00                   3,000.00                               3,000.00                          FA
            sold at auction

   16       c6500 Box Truck                                                   26,955.80                         0.00         OA                         0.00                        FA
            Title supplied for 2000 Chevy - vehicle inoperable;
            exploring options to sell or abandon.

   17       2006 Ford Van                                                       6,500.00                   4,800.00                               4,800.00                          FA
            Based on titles supplied, this should be a 2005 Van;
            sold at auction

UST Form 101-7-TDR ( 10 /1/2010)
                                                 Case 16-18041              Doc 211        Filed 11/17/20              Page 15 of 33

                                                                 Form 1
                                                                                                                                                           Exhibit 8
                                             Individual Estate Property Record and Report                                                                  Page: 2

                                                              Asset Cases
Case No.:    16-18041-RED                                                                         Trustee Name:      (400340) Charles R. Goldstein
Case Name:         PEERLESS SPECIALTY FLOORING, LLC                                               Date Filed (f) or Converted (c): 06/14/2016 (f)
                                                                                                  § 341(a) Meeting Date:       07/20/2016
For Period Ending:          10/27/2020                                                            Claims Bar Date:      09/18/2016

                                        1                                   2                    3                      4                    5                  6

                            Asset Description                            Petition/       Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                 (Scheduled And Unscheduled (u) Property)              Unscheduled      (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                          Values               Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                       Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                                  and Other Costs)

   18       Tools                                                         70,322.01                       0.00                              46,302.50                        FA
            Subject to the blanket lien of FIB; Sale at auction with
            remnant inventory, forklifts, office furniture.

   19       2 Forklifts                                                   12,500.00                       0.00                              14,500.00                        FA
            Subject to the blanket lien of FIB

   20       Domain name                                                         0.00                      0.00                                   0.00                        FA
            Subject to the blanket lien of FIB

   21       Breach of Contract - Stuebner                                 50,000.00                       0.00         OA                        0.00                        FA
            Abandoned - Docket #27

   22       Refunds and Rebates (u)                                             0.00                  6,000.00                              24,033.60                        FA

   23       Avoidance Actions (u)                                               0.00                 75,000.00                              75,400.00                        FA

   24*      Claim in personal bankruptcy of principal                    125,000.00               125,000.00                                93,287.00                        FA
            (u)
            4/10/18: Proposed distribution filed, but new creditor
            has made a claim which may require amended
            distribution (See Footnote)


   24       Assets Totals (Excluding unknown values)                   $3,255,436.89             $220,656.48                         $1,142,457.63                     $0.00


        RE PROP# 24             Estimated recovery on $733K claim allowed in personal chapter 11 of former principal over 10-year life of the approved
                                Chapter 11 Plan - case no. 16-61076 (Montana); Trustee is requesting permission to assign this note to counsel, WTP, in
                                partial payment of fees owed. The Trustee values this note on present value basis at approximately $57,000. WTP has
                                agreed to accept the note at a value of $70,000.




UST Form 101-7-TDR ( 10 /1/2010)
                                   Case 16-18041            Doc 211      Filed 11/17/20           Page 16 of 33

                                                       Form 1
                                                                                                                                    Exhibit 8
                                   Individual Estate Property Record and Report                                                     Page: 3

                                                    Asset Cases
Case No.:   16-18041-RED                                                      Trustee Name:      (400340) Charles R. Goldstein
Case Name:      PEERLESS SPECIALTY FLOORING, LLC                              Date Filed (f) or Converted (c): 06/14/2016 (f)
                                                                              § 341(a) Meeting Date:    07/20/2016
For Period Ending:    10/27/2020                                              Claims Bar Date:     09/18/2016


 Major Activities Affecting Case Closing:

                           Trustee working with contractors to have property for which title has passed removed from warehouse;
                           auction of remaining property set to 9/9/2016.
                           3/15/2017: Trustee working with the bank to collect A/R; Funds subject to bank's lien are held in escrow
                           pending a dispute with third party. Trustee and counsel continue to pursue preference transactions. Anticipate
                           2-4 preference suits to be filed prior to 6/14/2017.
                           9/30/17: FIB Funds disbursed
                           12/31/17: Counsel continues to attempt resolution for remaining preferences. Jolash settlement approved.
                           3/31/18: Jolash defaulted on settlement agreement; Trustee and counsel are exploring option to sell default
                           judgments for Jolash and 2 other preference matters, potential POC recoveries for 4th preference and
                           potential income stream from Dighans POC. Trustee has received additional insurance rebate funds which
                           belong to former employees. Motion to disburse those funds will be filed with a motion to destroy books and
                           records. Trustee and counsel are working to resolve largest unsecured creditor claims.
                           12/31/18: Trustee marketed remnant assets and payment stream from Dighans bankruptcy but did not
                           receive a reasonable bid for these assets. Trustee will continue to collect the payment stream and
                           investigate other possibilities to liquidate this asset.
                           5/14/19: Second payment from Dighans bankruptcy received.
                           4/30/2020: Motion to assign Dighans note, Motion to destroy books and records, Motion to sell remnant
                           assets and applications for compensation are pending.




 Initial Projected Date Of Final Report (TFR): 06/30/2018             Current Projected Date Of Final Report (TFR):    07/09/2020 (Actual)




UST Form 101-7-TDR ( 10 /1/2010)
                                          Case 16-18041            Doc 211             Filed 11/17/20           Page 17 of 33

                                                                Form 2                                                                                      Exhibit 9
                                                                                                                                                            Page: 1
                                                Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                      Trustee Name:                        Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC                  Bank Name:                           Mechanics Bank
Taxpayer ID #:         **-***0898                                        Account #:                           ******2666 Checking Account
For Period Ending:     10/27/2020                                        Blanket Bond (per case limit):       $3,000,000.00
                                                                         Separate Bond (if applicable):       N/A

    1            2                        3                                       4                                  5                       6                          7

  Trans.    Check or        Paid To / Received From          Description of Transaction           Uniform       Deposit                Disbursement           Account Balance
   Date      Ref. #                                                                              Tran. Code       $                          $

 06/20/16     {4}      Sun Construction                A/R - Sandoz Line 6 Packaging             1121-000            19,350.00                                              19,350.00
 06/20/16     {4}      Sun Construction                A/R - Sandoz Room 507                     1121-000                3,507.40                                           22,857.40
 06/24/16     {4}      Craftcorps, Inc.                A/R                                       1121-000                 484.22                                            23,341.62
 06/27/16     {4}      BB&T                            A/R - Westminster Canturbury              1121-000            32,180.00                                              55,521.62
 06/27/16     {4}      Entelen Design - Build, LLC     A/R Actavis                               1121-000                4,125.85                                           59,647.47
 06/27/16     {4}      BB&T                            A/R - Loudoun County ES#27                1121-000                5,675.00                                           65,322.47
 06/30/16              Rabobank, N.A.                  Bank and Technology Services              2600-000                                          13.92                    65,308.55
                                                       Fee
 07/08/16     {4}      Sun Construction                A/R - Sandoz Room 171                     1121-000            26,072.00                                              91,380.55
 07/08/16     {22}     Government of the District of   Unincorp franchise tax refund -           1229-000                 257.96                                            91,638.51
                       Columbia                        period end December 2013
 07/12/16     {4}      The Richmond Group, Inc.        A/R - Biogen Rooms 218 ADE                1121-000            16,000.00                                          107,638.51
 07/12/16     {4}      The Richmond Group, Inc.        A/R - Biogen Rooms 216, 216E              1121-000            20,868.65                                          128,507.16
 07/14/16     {4}      Sun Construction                Stop Payment                              1121-000           -26,072.00                                          102,435.16
 07/21/16     {4}      Henley Construction Co. Inc.    A/R - Thoreau MS                          1121-000                4,469.00                                       106,904.16
 07/22/16     {4}      J A Scheibel Inc.               A/R - Baldwin                             1121-000                1,919.83                                       108,823.99
 07/25/16              To Account #******2667          Transfer to DDA                           9999-000                                        6,520.34               102,303.65
 07/26/16     {4}      ECI Construction                A/R - West York                           1121-000                5,830.60                                       108,134.25
 07/26/16     {4}      J A Scheibel Inc.               A/R - Baldwin                             1121-000           113,040.00                                          221,174.25
 07/26/16     {4}      Lobar, Inc.                     A/R - Hopewell/Iron Forge/Halifax         1121-000            41,179.52                                          262,353.77
 07/28/16              To Account #******2667          Transfer                                  9999-000                                    39,467.15                  222,886.62
 07/29/16              Rabobank, N.A.                  Bank and Technology Services              2600-000                                         141.86                222,744.76
                                                       Fee
 08/02/16              To Account #******2667          Transfer to DDA                           9999-000                                        2,075.92               220,668.84
 08/05/16     {22}     Verizon Wireless                Refund                                    1229-000                  92.08                                        220,760.92
 08/10/16     {4}      EGC Constrution Corporation     A/R - P&G                                 1121-000            21,469.00                                          242,229.92
 08/16/16              To Account #******2667          Transfer to DDA                           9999-000                                        3,982.92               238,247.00
 08/24/16     {4}      The Christman Company           A/R - 12 School - Christman               1121-000                3,245.00                                       241,492.00
                                                       (Cashiers Check from Chase)
 08/25/16     {4}      The Richmond Group, Inc.        A/R - Biogen RMS 218 ADE                  1121-000            16,536.00                                          258,028.00
 08/31/16              Whiteford Taylor, Preston -     Wire Transfer from Attorney                                  303,930.00                                          561,958.00
                       Attorney Escrow Account         Escrow
              {4}                                      Art Place                                 1121-000
                                                                                $300,000.00
              {4}                                      Bayview Hopkins                           1121-000
                                                                                  $1,995.00
              {4}                                      Tyler Academic Building                   1121-000
                                                                                  $1,935.00
 08/31/16              Rabobank, N.A.                  Bank and Technology Services              2600-000                                         380.69                561,577.31
                                                       Fee
 09/02/16              To Account #******2667          Transfer to DDA                           9999-000                                        1,096.97               560,480.34
 09/09/16              To Account #******2667          Tansfer to DDA                            9999-000                                   200,000.00                  360,480.34
 09/20/16              BSC America                     Sale of Inventory, equipment,                                 52,371.46                                          412,851.80
                                                       office furniture, forklifts, 2005 Truck
                                                       and Trailer

                                                                                            Page Subtotals:     $666,531.57              $253,679.77


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                      ! - transaction has not been cleared
                                        Case 16-18041                Doc 211              Filed 11/17/20          Page 18 of 33

                                                                  Form 2                                                                                     Exhibit 9
                                                                                                                                                             Page: 2
                                                  Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                        Trustee Name:                        Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC                    Bank Name:                           Mechanics Bank
Taxpayer ID #:         **-***0898                                          Account #:                           ******2666 Checking Account
For Period Ending:     10/27/2020                                          Blanket Bond (per case limit):       $3,000,000.00
                                                                           Separate Bond (if applicable):       N/A

    1            2                      3                                           4                                 5                       6                          7

  Trans.    Check or       Paid To / Received From             Description of Transaction           Uniform       Deposit               Disbursement           Account Balance
   Date      Ref. #                                                                                Tran. Code       $                         $

              {17}     BSC America                                                   $4,800.00     1129-000
                       BSC America                       Commission on vehicle                     3610-000
                                                                                        -$600.00
                       BSC America                       Vehicle transport cost                    3620-000
                                                                                        -$100.00
              {19}                                                                  $14,500.00     1129-000
                       BSC America                       Commission on Forklifts                   3610-000
                                                                                    -$1,812.50
              {15}                                                                   $3,000.00     1129-000
                       BSC America                       Commission on sale of Trailer             3610-000
                                                                                        -$375.00
              {18}                                                                  $46,302.50     1129-000
                       BSC America                       Commision on sale of tools,               3610-000
                                                         inventory
                                                                                    -$5,788.09
                       BSC America                       Costs of auction sale for Tools,          3620-000
                                                         inventory
                                                                                    -$7,555.45
 09/21/16              To Account #******2667            Transfer to DDA                           9999-000                                       8,308.87               404,542.93
 09/22/16     {4}      Cypress Painting System's, Inc.   A/R - NW Hospital                         1121-000               2,000.00                                       406,542.93
 09/22/16              To Account #******2667            Transfer to DDA                           9999-000                                       1,082.78               405,460.15
 09/28/16     101      Void check - not printed          Void check - not printed                  2990-004                                       2,790.68               402,669.47
                                                         Voided on 09/28/2016
 09/28/16     101      Void check - not printed          Void check - not printed                  2990-004                                   -2,790.68                  405,460.15
                                                         Voided: check issued on
                                                         09/28/2016
 09/28/16              To Account #******2667            Transfer to pay auto insurance            9999-000                                       2,790.68               402,669.47
                                                         premium
 09/29/16              To Account #******2667            Transfer to DDA                           9999-000                                       3,628.32               399,041.15
 09/30/16              Rabobank, N.A.                    Bank and Technology Services              2600-000                                        682.87                398,358.28
                                                         Fee
 10/10/16     {22}     CareFirst BlueChoice, Inc.        Non-Estate funds - pass-thru              1280-002               2,964.77                                       401,323.05
                                                         rebate for employees
 10/28/16     {22}     Government of the District of     Unincorp franchise tax refund -           1229-000               1,171.64                                       402,494.69
                       Columbia                          period end December 2015
 10/31/16              Rabobank, N.A.                    Bank and Technology Services              2600-000                                        556.57                401,938.12
                                                         Fee
 11/30/16              Rabobank, N.A.                    Bank and Technology Services              2600-000                                        614.92                401,323.20
                                                         Fee
 12/30/16              Rabobank, N.A.                    Bank and Technology Services              2600-000                                        575.66                400,747.54
                                                         Fee
 01/10/17     {22}     State of Montana                  Fund policy year 2014 dividend;           1229-000               1,146.21                                       401,893.75
                                                         policy # 032980575
 01/24/17              To Account #******2668            Transfer funds subject to FIB Lien        9999-000                                  394,894.66                       6,999.09
                                                         and currently in dispute
 01/24/17              To Account #******2669            Transfer of non-estate fund to            9999-000                                       2,964.77                    4,034.32
                                                         escrow
 03/06/17     {4}      Dean Snyder Construction          A/R                                       1121-000           77,676.00                                              81,710.32


                                                                                              Page Subtotals:      $84,958.62             $416,100.10


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                       ! - transaction has not been cleared
                                          Case 16-18041              Doc 211           Filed 11/17/20          Page 19 of 33

                                                                Form 2                                                                                    Exhibit 9
                                                                                                                                                          Page: 3
                                                Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                       Trustee Name:                      Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC                   Bank Name:                         Mechanics Bank
Taxpayer ID #:         **-***0898                                         Account #:                         ******2666 Checking Account
For Period Ending:     10/27/2020                                         Blanket Bond (per case limit):     $3,000,000.00
                                                                          Separate Bond (if applicable):     N/A

    1            2                        3                                       4                                5                       6                          7

  Trans.    Check or       Paid To / Received From          Description of Transaction         Uniform         Deposit               Disbursement           Account Balance
   Date      Ref. #                                                                           Tran. Code         $                         $

 03/13/17              To Account #******2668           Transfer to FIB Account                9999-000                                    77,676.00                       4,034.32
 03/13/17              To Account #******2668           Transfer to the FIB account            9999-000                                         281.13                     3,753.19
 03/16/17              To Account #******2667           Transfer                               9999-000                                         643.52                     3,109.67
 03/17/17     102      Insurance Partners Agency, Inc   BOND PREMIUM PAYMENT ON                2300-000                                         282.32                     2,827.35
                                                        LEDGER BALANCE AS OF
                                                        03/17/2017 FOR CASE #16-
                                                        18041, Inv. 391096; Blanket bond
                                                        renewal for period 3/1/2017 to
                                                        3/1/2018
 03/30/17     {23}     Shaw Industries Group, Inc.      Avoidance Action Settlement            1241-000            27,500.00                                              30,327.35
 03/30/17     {4}      Howell Construction              A/R demand                             1121-000            68,698.00                                              99,025.35
 03/30/17     {4}      ADI Construction                 A/R demand                             1121-000                5,267.00                                       104,292.35
 03/30/17     {23}     Wex, Inc                         Avoidance Action Settlement            1241-000                1,500.00                                       105,792.35
 04/04/17              To Account #******2668           Transfer to FIB Escrow Acct            9999-000                                    68,698.00                      37,094.35
                                                        (Howell Construction deposit -
                                                        A/R)
 04/04/17              To Account #******2668           Transfer to FIB Escrow Acct (ADI       9999-000                                        5,267.00                   31,827.35
                                                        Construction deposit - A/R)
 04/28/17              Rabobank, N.A.                   Bank and Technology Services           2600-000                                          57.62                    31,769.73
                                                        Fee
 05/03/17              Rabobank, N.A.                   Bank and Technology Services           2600-000                                          -14.44                   31,784.17
                                                        Fee Adjustment
 05/03/17              Rabobank, N.A.                   Bank and Technology Services           2600-000                                          10.00                    31,774.17
                                                        Fee Adjustment
 05/15/17     {13}     Brendan Connelly                 Sale of vehicle                        1129-000                 300.00                                            32,074.17
 05/31/17              Rabobank, N.A.                   Bank and Technology Services           2600-000                                          60.04                    32,014.13
                                                        Fee
 06/05/17     {23}     Iowa Hotels Inc.                 Preference settlement payment          1241-000                1,400.00                                           33,414.13
 06/30/17              Rabobank, N.A.                   Bank and Technology Services           2600-000                                          56.21                    33,357.92
                                                        Fee
 07/31/17              Rabobank, N.A.                   Bank and Technology Services           2600-000                                          54.56                    33,303.36
                                                        Fee
 08/31/17              Rabobank, N.A.                   Bank and Technology Services           2600-000                                          62.01                    33,241.35
                                                        Fee
 09/14/17     {4}      eci Construction                 Lewisburg                              1121-000                 204.30                                            33,445.65
 09/29/17              Rabobank, N.A.                   Bank and Technology Services           2600-000                                          54.47                    33,391.18
                                                        Fee
 10/31/17              Rabobank, N.A.                   Bank and Technology Services           2600-000                                          60.18                    33,331.00
                                                        Fee
 11/15/17     {23}     Citibank, N.A.                   Settlement                             1241-000                3,000.00                                           36,331.00
 11/15/17     {22}     CareFirst BlueChoice             (NOT PRINTED) Rebate                   1280-000                3,387.21                                           39,718.21
 11/15/17     {22}     CareFirst BlueChoice             Reversed Deposit 100025 1              1280-000            -3,387.21                                              36,331.00
                                                        Rebate
 11/21/17     {22}     State of Montana                 voucher ID 00107900; Agency            1229-000                1,827.94                                           38,158.94
                                                        6203Z
 11/30/17              Rabobank, N.A.                   Bank and Technology Services           2600-000                                          59.05                    38,099.89
                                                        Fee
 12/29/17              Rabobank, N.A.                   Bank and Technology Services           2600-000                                          61.09                    38,038.80
                                                        Fee
 01/31/18              Rabobank, N.A.                   Bank and Technology Services           2600-000                                          69.42                    37,969.38
                                                        Fee


                                                                                           Page Subtotals:     $109,697.24             $153,438.18


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                    ! - transaction has not been cleared
                                        Case 16-18041                Doc 211             Filed 11/17/20       Page 20 of 33

                                                                 Form 2                                                                                Exhibit 9
                                                                                                                                                       Page: 4
                                                 Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                        Trustee Name:                    Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC                    Bank Name:                       Mechanics Bank
Taxpayer ID #:         **-***0898                                          Account #:                       ******2666 Checking Account
For Period Ending:     10/27/2020                                          Blanket Bond (per case limit):   $3,000,000.00
                                                                           Separate Bond (if applicable):   N/A

    1            2                      3                                          4                              5                     6                          7

  Trans.    Check or       Paid To / Received From            Description of Transaction        Uniform       Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                            Tran. Code       $                       $

 02/28/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                       58.80                    37,910.58
                                                          Fee
 03/30/18     {22}     Pennsylvania Department of         Refund                               1229-000               521.00                                           38,431.58
                       Revenue
 03/30/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                       62.92                    38,368.66
                                                          Fee
 04/30/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                       61.37                    38,307.29
                                                          Fee
 05/25/18              Whiteford Taylor & Preston         Deposit from escrow                                     49,803.00                                            88,110.29
              {4}      Greenway Enterprises/Maury Hall    Subject to FIB lien and incuded in   1121-000
                                                          calculated amount paid on lien
                                                                                  $36,030.00
              {23}     Tandus/Centiva                     Order approving at Docket No. 148    1241-000
                                                                                  $29,000.00
              {23}     Interface                          Funds subject to dispute with        1241-000
                                                          Jolash et al; Order approving
                                                          global settlement at Docket No.
                                                          144
                                                                                  $13,000.00
              {24}     Estate of Dinghans                 First payment from confirmed         1229-000
                                                          chapter 11 plan
                                                                                   $9,273.00
                       JJ Haines                          Payment pursuant to global order     7100-000
                                                          Docket No. 144
                                                                                  -$7,500.00
                       JA Scheibel                        Payment pursuant to global order     7100-000
                                                          Docket No. 144
                                                                                 -$30,000.00
 05/31/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                       74.44                    88,035.85
                                                          Fee
 06/29/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                     130.36                     87,905.49
                                                          Fee
 07/31/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                     143.65                     87,761.84
                                                          Fee
 08/31/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                     138.94                     87,622.90
                                                          Fee
 09/28/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                       71.60                    87,551.30
                                                          Fee
 10/31/18              Rabobank, N.A.                     Bank and Technology Services         2600-000                                       84.33                    87,466.97
                                                          Fees
 04/29/19     103      Insurance Partners Agency, Inc.    Chapter 7 Bond 3/1/19 to             2300-000                                       81.55                    87,385.42
                                                          2/28/2020
 04/30/19     {24}     Murray Dighans                     Deposit- 2nd annual payment from     1229-000           14,014.00                                        101,399.42
                                                          Chapter 11 filing of principal
 07/10/19                                                 Transition Debit to Metropolitan     9999-000                                101,399.42                           0.00
                                                          Commercial Bank acct

                                            COLUMN TOTALS                                                         925,525.43           925,525.43                          $0.00
                                                   Less: Bank Transfers/CDs                                             0.00           920,778.45
                                            Subtotal                                                              925,525.43                4,746.98
                                                   Less: Payments to Debtors                                                                   0.00

                                            NET Receipts / Disbursements                                       $925,525.43               $4,746.98



{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
                                       Case 16-18041                Doc 211             Filed 11/17/20           Page 21 of 33

                                                                Form 2                                                                                       Exhibit 9
                                                                                                                                                             Page: 5
                                                Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                        Trustee Name:                       Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC                    Bank Name:                          Mechanics Bank
Taxpayer ID #:         **-***0898                                          Account #:                          ******2667 Checking Account
For Period Ending:     10/27/2020                                          Blanket Bond (per case limit):      $3,000,000.00
                                                                           Separate Bond (if applicable):      N/A

    1            2                     3                                          4                                   5                       6                          7

  Trans.    Check or         Paid To / Received From         Description of Transaction          Uniform         Deposit                Disbursement           Account Balance
   Date      Ref. #                                                                             Tran. Code         $                          $

 07/25/16              From Account #******2666          Transfer to DDA                         9999-000                 6,520.34                                            6,520.34
 07/25/16     101      CNA Insurance                     Acct: ******0828; Inv: ******2883       2420-750                                         6,520.34                        0.00
                                                         dayed 7/8/16
 07/26/16     {4}      Scheibel Construction             Payment for Baldwin School              1121-000            113,040.00                                          113,040.00
 07/26/16     {4}      Scheibel Construction             Reversed Deposit 100001 1               1121-000            -113,040.00                                                  0.00
                                                         Payment for Baldwin School
 07/28/16              From Account #******2666          Transfer                                9999-000             39,467.15                                              39,467.15
 07/28/16     102      Realty Associates Fund X, LP      Post-petition rent June to August       2410-000                                     39,467.15                           0.00
                                                         2016. Per Court Order entered
                                                         7/25/16 [Docket #70]
 08/02/16              From Account #******2666          Transfer to DDA                         9999-000                 2,075.92                                            2,075.92
 08/02/16     103      BGE                               Account #******1667, billing period     2990-000                                          604.73                     1,471.19
                                                         6/14/16-7/14/16
 08/02/16     104      BGE                               Account #******6946, billing period     2990-000                                         1,471.19                        0.00
                                                         6/14/16-7/14/16
 08/16/16              From Account #******2666          Transfer to DDA                         9999-000                 3,982.92                                            3,982.92
 08/16/16     105      ADT Security Services             Account #400136042, billing             2990-000                                          172.92                     3,810.00
                                                         period 7/14/16 - 10/13/16
 08/16/16     106      William H. Stepanick              Compensation for services               2990-000                                         3,810.00                        0.00
                                                         6/14/16-7/15/16 per Court Order
                                                         entered 7/25/16 (Docket #70)
 09/02/16              From Account #******2666          Transfer to DDA                         9999-000                 1,096.97                                            1,096.97
 09/02/16     107      BGE                               Account #******1667, billing period     2990-000                                         1,096.97                        0.00
                                                         7/14/16-8/15/16
 09/09/16              From Account #******2666          Tansfer to DDA                          9999-000            200,000.00                                          200,000.00
 09/09/16     108      Spartan Surfaces, Inc.            Settlement payment per Court            2990-000                                    200,000.00                           0.00
                                                         Order entered 8/15/16 (docket
                                                         #92); resolution of reclamation
                                                         claim
 09/21/16              From Account #******2666          Transfer to DDA                         9999-000                 8,308.87                                            8,308.87
 09/21/16     109      The Realty Associates Fund X, LP Post-petition rent for September         2410-000                                         8,308.87                        0.00
                                                        2016 (prorated). Per Court Order
                                                        entered 7/25/16 [Docket #70]
 09/22/16              From Account #******2666          Transfer to DDA                         9999-000                 1,082.78                                            1,082.78
 09/22/16     110      BGE                               Account #******1667, billing period     2990-000                                         1,082.78                        0.00
                                                         8/15/16-9/15/16
 09/28/16              From Account #******2666          Transfer to pay auto insurance          9999-000                 2,790.68                                            2,790.68
                                                         premium
 09/28/16     111      CNA                               Auto insurance premium                  2420-750                                         2,790.68                        0.00
 09/29/16              From Account #******2666          Transfer to DDA                         9999-000                 3,628.32                                            3,628.32
 09/29/16     112      William H. Stepanick              Compensation for services re:           2990-000                                         3,628.32                        0.00
                                                         Stuebner arbitration; paid from
                                                         carve-out
 01/31/17              From Account #******2668          Transfer to DDA                         9999-000                  281.13                                              281.13
 01/31/17     113      Colorado Department of Revenue    Peerless Specialty Flooring, LLC,       2820-004                                          686.00                      -404.87
                                                         Acct. No. 02653459, 2nd qtr 2016
                                                         withholding (DR-1093-Colorado
                                                         Annual Transmittal of State W-2
                                                         Forms)
                                                         Voided on 01/31/2017




                                                                                             Page Subtotals:     $269,235.08              $269,639.95


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                      ! - transaction has not been cleared
                                       Case 16-18041                Doc 211              Filed 11/17/20        Page 22 of 33

                                                                 Form 2                                                                                   Exhibit 9
                                                                                                                                                          Page: 6
                                                 Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                         Trustee Name:                    Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC                     Bank Name:                       Mechanics Bank
Taxpayer ID #:         **-***0898                                           Account #:                       ******2667 Checking Account
For Period Ending:     10/27/2020                                           Blanket Bond (per case limit):   $3,000,000.00
                                                                            Separate Bond (if applicable):   N/A

    1            2                     3                                           4                               5                       6                          7

  Trans.    Check or       Paid To / Received From           Description of Transaction         Uniform        Deposit               Disbursement           Account Balance
   Date      Ref. #                                                                            Tran. Code        $                         $

 01/31/17     113      Colorado Department of Revenue    Peerless Specialty Flooring, LLC,      2820-004                                        -686.00                    281.13
                                                         Acct. No. 02653459, 2nd qtr 2016
                                                         withholding (DR-1093-Colorado
                                                         Annual Transmittal of State W-2
                                                         Forms)
                                                         Voided: check issued on
                                                         01/31/2017
 01/31/17     114      Colorado Department of Revenue    Peerless Specialty Flooring, LLC,      2820-000                                        130.00                     151.13
                                                         Acct. No. 02653459, 2Q16
                                                         withholding (P/R paid 6/17/16)
                                                         (DR-1093-Colorado Annual
                                                         Transmittal of State W-2 Forms)
 01/31/17     115      Commonwealth of Massachusetts     EIN No. XX-XXXXXXX, 2Q16WH             2820-000                                        148.13                        3.00
                                                         paid 6/17/16 (M-941 - Employer's
                                                         Return of Income Taxes Withheld)
 01/31/17     116      Ohio Treasurer of State           EIN No. XX-XXXXXXX, 2Q16WH             2820-000                                           3.00                       0.00
                                                         paid 6/17/16 (IT 941 Ohio
                                                         Employer's Annual Reconciliation
                                                         of Income Tax Withheld)
 03/16/17              From Account #******2666          Transfer                               9999-000                643.52                                             643.52
 03/16/17     117      American State Bank               Payment of secured lien on vehicle     4210-000                                        643.52                        0.00
 04/24/17              Specialty Surface Solutions       Sale of vehicles                                              6,000.00                                           6,000.00
              {10}                                       sale of vehicle                        1129-000
                                                                                   $2,000.00
              {12}                                       sale of vehicle                        1129-000
                                                                                   $2,000.00
              {14}                                       sale of vehicle                        1129-000
                                                                                   $2,000.00
 06/12/17     118      United States Treasury            EIN XX-XXXXXXX; Tax period             2690-000                                        161.37                    5,838.63
                                                         12/31/16, Form 940 (Employer's
                                                         Annual Federal Unemployment
                                                         Tax Return)
 04/26/18              To Account #******2670            Bond payment taken from wrong          9999-000                                        113.08                    5,725.55
                                                         account
 01/11/19              To Account #******2667            Montana State Fund 2016                9999-000               2,164.79                                           7,890.34
                                                         Dividend
 07/10/19                                                Transition Debit to Metropolitan       9999-000                                       7,890.34                       0.00
                                                         Commercial Bank acct

                                           COLUMN TOTALS                                                           278,043.39             278,043.39                         $0.00
                                                  Less: Bank Transfers/CDs                                         272,043.39                  8,003.42
                                           Subtotal                                                                    6,000.00           270,039.97
                                                  Less: Payments to Debtors                                                                        0.00

                                           NET Receipts / Disbursements                                             $6,000.00            $270,039.97




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                    ! - transaction has not been cleared
                                        Case 16-18041                Doc 211             Filed 11/17/20        Page 23 of 33

                                                                 Form 2                                                                                  Exhibit 9
                                                                                                                                                         Page: 7
                                                 Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                         Trustee Name:                    Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC                     Bank Name:                       Mechanics Bank
Taxpayer ID #:         **-***0898                                           Account #:                       ******2668 FIB Escrow Account
For Period Ending:     10/27/2020                                           Blanket Bond (per case limit):   $3,000,000.00
                                                                            Separate Bond (if applicable):   N/A

    1            2                      3                                           4                               5                       6                        7

  Trans.    Check or        Paid To / Received From           Description of Transaction        Uniform        Deposit                Disbursement         Account Balance
   Date      Ref. #                                                                            Tran. Code        $                          $

 01/24/17              From Account #******2666           Transfer funds subject to FIB Lien    9999-000           394,894.66                                        394,894.66
                                                          and currently in dispute
 01/31/17              To Account #******2667             Transfer to DDA                       9999-000                                        281.13               394,613.53
 01/31/17              Rabobank, N.A.                     Bank and Technology Services          2600-000                                        615.83               393,997.70
                                                          Fee
 02/28/17              Rabobank, N.A.                     Bank and Technology Services          2600-000                                        538.59               393,459.11
                                                          Fee
 03/13/17              From Account #******2666           Transfer to FIB Account               9999-000            77,676.00                                        471,135.11
 03/13/17              From Account #******2666           Transfer to the FIB account           9999-000                 281.13                                      471,416.24
 04/04/17              From Account #******2666           Transfer to FIB Escrow Acct           9999-000            68,698.00                                        540,114.24
                                                          (Howell Construction deposit -
                                                          A/R)
 04/04/17              From Account #******2666           Transfer to FIB Escrow Acct (ADI      9999-000                5,267.00                                     545,381.24
                                                          Construction deposit - A/R)
 04/10/17     {3}      First Community Bank               Cashier's check - Account transfer    1129-000                 366.56                                      545,747.80
                                                          from Acct #3401168
 04/24/17     {4}      Manhattan Construction Co          A/R demand - Ryan                     1121-000            10,686.65                                        556,434.45
 05/04/17     {4}      Entelen Design - Build, LLC        A/R - Actavis B575/Mixing Rooms       1121-000            37,883.00                                        594,317.45
                                                          1 and 2
 05/23/17              Rabobank, N.A.                     Bank and Technology Services          2600-000                                    -1,154.42                595,471.87
                                                          Fee Adjustment
 06/05/17     {4}      The Richmond Group, Inc.           A/R - Biogen                          1121-000                3,033.95                                     598,505.82
 08/15/17     {4}      The Whiting-Turner Contracting     A/R - Bayview and Northwest           1121-000            19,179.00                                        617,684.82
                       Company
 09/15/17     101      First Interstate Bank              Payment of secured claim              4110-000                                   444,899.96                172,784.86
 07/10/19                                                 Transition Debit to Metropolitan      9999-000                                   172,784.86                      0.00
                                                          Commercial Bank acct

                                            COLUMN TOTALS                                                          617,965.95              617,965.95                     $0.00
                                                   Less: Bank Transfers/CDs                                        546,816.79              173,065.99
                                            Subtotal                                                                71,149.16              444,899.96
                                                   Less: Payments to Debtors                                                                      0.00

                                            NET Receipts / Disbursements                                           $71,149.16             $444,899.96




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                     ! - transaction has not been cleared
                                         Case 16-18041         Doc 211            Filed 11/17/20          Page 24 of 33

                                                              Form 2                                                                               Exhibit 9
                                                                                                                                                   Page: 8
                                              Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                  Trustee Name:                      Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC              Bank Name:                         Mechanics Bank
Taxpayer ID #:         **-***0898                                    Account #:                         ******2669 Health Insurance Escrow
For Period Ending:     10/27/2020                                    Blanket Bond (per case limit):     $3,000,000.00
                                                                     Separate Bond (if applicable):     N/A

    1            2                       3                                    4                               5                       6                        7

  Trans.    Check or       Paid To / Received From       Description of Transaction       Uniform         Deposit               Disbursement         Account Balance
   Date      Ref. #                                                                      Tran. Code         $                         $

 01/24/17              From Account #******2666      Transfer of non-estate fund to       9999-000                2,964.77                                         2,964.77
                                                     escrow
 03/31/17              Rabobank, N.A.                Bank and Technology Services         2600-000                                         51.05                   2,913.72
                                                     Fee
 05/03/17              Rabobank, N.A.                Bank and Technology Services         2600-000                                        -51.05                   2,964.77
                                                     Fee Adjustment
 11/03/17     101      Bonita R. Allen               Distribution of returned employee    8500-000                                         68.08                   2,896.69
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 11/03/17     102      Jeffrey A. Benedetto          Distribution of returned employee    8500-000                                        352.21                   2,544.48
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 11/03/17     103      Chad J. Boyd                  Distribution of returned employee    8500-005                                         15.13                   2,529.35
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
                                                     Stopped on 06/11/2018
 11/03/17     104      Christopher Caldwell          Distribution of returned employee    8500-004                                        111.33                   2,418.02
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
                                                     Voided on 05/02/2018
 11/03/17     105      Brendan Connolly              Distribution of returned employee    8500-000                                        124.33                   2,293.69
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 11/03/17     106      Christopher Corbett           Distribution of returned employee    8500-000                                        122.23                   2,171.46
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 11/03/17     107      Myron Dighans                 Distribution of returned employee    8500-000                                         28.39                   2,143.07
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 11/03/17     108      Christopher Farrell           Distribution of returned employee    8500-000                                         13.57                   2,129.50
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 11/03/17     109      Ernest E. Fowler              Distribution of returned employee    8500-000                                         68.08                   2,061.42
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 11/03/17     110      Jerome Hammerbacher Jr        Distribution of returned employee    8500-000                                        281.67                   1,779.75
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 11/03/17     111      Martin Hammonds               Distribution of returned employee    8500-005                                         31.24                   1,748.51
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
                                                     Stopped on 06/11/2018


                                                                                      Page Subtotals:         $2,964.77             $1,216.26


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                                         Case 16-18041         Doc 211            Filed 11/17/20          Page 25 of 33

                                                              Form 2                                                                             Exhibit 9
                                                                                                                                                 Page: 9
                                              Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                  Trustee Name:                      Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC              Bank Name:                         Mechanics Bank
Taxpayer ID #:         **-***0898                                    Account #:                         ******2669 Health Insurance Escrow
For Period Ending:     10/27/2020                                    Blanket Bond (per case limit):     $3,000,000.00
                                                                     Separate Bond (if applicable):     N/A

    1            2                       3                                   4                                5                    6                         7

  Trans.    Check or       Paid To / Received From       Description of Transaction       Uniform         Deposit            Disbursement          Account Balance
   Date      Ref. #                                                                      Tran. Code         $                      $

 11/03/17     112      Paul Allan A. Jacobs          Distribution of returned employee    8500-000                                     122.23                    1,626.28
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 11/03/17     113      Michael W. Kostiha            Distribution of returned employee    8500-000                                      42.96                    1,583.32
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 11/03/17     114      Antonio E. Lashley            Distribution of returned employee    8500-000                                      12.59                    1,570.73
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 11/03/17     115      Antoine L. McElveen           Distribution of returned employee    8500-004                                      50.11                    1,520.62
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
                                                     Voided on 12/13/2017
 11/03/17     116      Kevin M. O'Donnell            Distribution of returned employee    8500-000                                     111.33                    1,409.29
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 11/03/17     117      Joel Eric Rocha               Distribution of returned employee    8500-000                                     602.02                     807.27
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 11/03/17     118      Karen A. Scardina             Distribution of returned employee    8500-005                                      12.59                     794.68
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
                                                     Stopped on 06/11/2018
 11/03/17     119      Maricka Stephens              Distribution of returned employee    8500-000                                      16.39                     778.29
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 11/03/17     120      Angel Yeager                  Distribution of returned employee    8500-005                                      71.04                     707.25
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
                                                     Stopped on 06/11/2018
 11/03/17     121      Deanna A. Dighans             Distribution of returned employee    8500-000                                     707.25                        0.00
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
 12/13/17     115      Antoine L. McElveen           Distribution of returned employee    8500-004                                      -50.11                     50.11
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
                                                     Voided: check issued on
                                                     11/03/2017
 05/02/18     104      Christopher Caldwell          Distribution of returned employee    8500-004                                     -111.33                    161.44
                                                     paid health insurance premium for
                                                     2015 (non-estate funds) per Order
                                                     entered 10/4/2017 [Docket No.
                                                     156]
                                                     Voided: check issued on
                                                     11/03/2017

                                                                                      Page Subtotals:             $0.00          $1,587.07


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                            ! - transaction has not been cleared
                                       Case 16-18041               Doc 211             Filed 11/17/20         Page 26 of 33

                                                                Form 2                                                                                   Exhibit 9
                                                                                                                                                         Page: 10
                                                Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                      Trustee Name:                      Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC                  Bank Name:                         Mechanics Bank
Taxpayer ID #:         **-***0898                                        Account #:                         ******2669 Health Insurance Escrow
For Period Ending:     10/27/2020                                        Blanket Bond (per case limit):     $3,000,000.00
                                                                         Separate Bond (if applicable):     N/A

    1            2                     3                                         4                                5                       6                          7

  Trans.    Check or       Paid To / Received From           Description of Transaction         Uniform       Deposit               Disbursement           Account Balance
   Date      Ref. #                                                                            Tran. Code       $                         $

 06/11/18     103      Chad J. Boyd                      Distribution of returned employee     8500-005                                        -15.13                    176.57
                                                         paid health insurance premium for
                                                         2015 (non-estate funds) per Order
                                                         entered 10/4/2017 [Docket No.
                                                         156]
                                                         Stopped: check issued on
                                                         11/03/2017
 06/11/18     111      Martin Hammonds                   Distribution of returned employee     8500-005                                        -31.24                    207.81
                                                         paid health insurance premium for
                                                         2015 (non-estate funds) per Order
                                                         entered 10/4/2017 [Docket No.
                                                         156]
                                                         Stopped: check issued on
                                                         11/03/2017
 06/11/18     118      Karen A. Scardina                 Distribution of returned employee     8500-005                                        -12.59                    220.40
                                                         paid health insurance premium for
                                                         2015 (non-estate funds) per Order
                                                         entered 10/4/2017 [Docket No.
                                                         156]
                                                         Stopped: check issued on
                                                         11/03/2017
 06/11/18     120      Angel Yeager                      Distribution of returned employee     8500-005                                        -71.04                    291.44
                                                         paid health insurance premium for
                                                         2015 (non-estate funds) per Order
                                                         entered 10/4/2017 [Docket No.
                                                         156]
                                                         Stopped: check issued on
                                                         11/03/2017
 06/26/18     122      Clerk of the U.S. Bankruptcy      Unclaimed Funds                                                                      291.44                       0.00
                       Court
                       Chad J. Boyd                      Turnover of unclaimed insurance       8500-001
                                                         refund
                                                                                      $15.13
                       Christopher Caldwell              Turnover of unclaimed insurance       8500-001
                                                         refund
                                                                                     $111.33
                       Martin Hammonds                   Turnover of unclaimed insurance       8500-001
                                                         refund
                                                                                      $31.24
                       Antoine L. McElveen               Turnover of unclaimed insurance       8500-001
                                                         refund
                                                                                      $50.11
                       Karen A. Scardina                 Turnover of unclaimed insurance       8500-001
                                                         refund
                                                                                      $12.59
                       Angel Yeager                      Turnover of unclaimed insurance       8500-001
                                                         refund
                                                                                      $71.04

                                           COLUMN TOTALS                                                              2,964.77                2,964.77                    $0.00
                                                  Less: Bank Transfers/CDs                                            2,964.77                   0.00
                                           Subtotal                                                                      0.00                 2,964.77
                                                  Less: Payments to Debtors                                                                      0.00

                                           NET Receipts / Disbursements                                                 $0.00              $2,964.77




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
                                         Case 16-18041            Doc 211            Filed 11/17/20          Page 27 of 33

                                                              Form 2                                                                                  Exhibit 9
                                                                                                                                                      Page: 11
                                              Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                     Trustee Name:                      Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC                 Bank Name:                         Mechanics Bank
Taxpayer ID #:         **-***0898                                       Account #:                         ******2670 Escrow - BlueCross
For Period Ending:     10/27/2020                                       Blanket Bond (per case limit):     $3,000,000.00
                                                                        Separate Bond (if applicable):     N/A

    1            2                       3                                      4                                5                       6                        7

  Trans.    Check or       Paid To / Received From          Description of Transaction       Uniform         Deposit               Disbursement         Account Balance
   Date      Ref. #                                                                         Tran. Code         $                         $

 11/15/17     {22}     CareFirst BlueChoice             Rebate                               1280-002                3,387.21                                         3,387.21
 03/22/18     101      Insurance Partners Agency, Inc   BOND PREMIUM PAYMENT ON              2300-000                                        113.08                   3,274.13
                                                        LEDGER BALANCE AS OF
                                                        03/22/2018 FOR CASE #16-
                                                        18041, Pro-rata premium for
                                                        Blanket Bond 3792891: 3/1/18 -
                                                        3/1/19
 04/26/18              From Account #******2667         Bond payment taken from wrong        9999-000                 113.08                                          3,387.21
                                                        account
 08/28/18     102      Bonita R. Allen                  Distribution of 2016 BC/BS           8500-000                                         85.62                   3,301.59
                                                        Insurance Rebate
 08/28/18     103      Jeffrey A. Benedetto             Distribution of 2016 BC/BS           8500-000                                        318.80                   2,982.79
                                                        Insurance Rebate
 08/28/18     104      Christopher Caldwell             Distribution of 2016 BC/BS           8500-004                                         83.20                   2,899.59
                                                        Insurance Rebate
                                                        Voided on 09/26/2018
 08/28/18     105      Brendan Connolly                 Distribution of 2016 BC/BS           8500-000                                        159.78                   2,739.81
                                                        Insurance Rebate
 08/28/18     106      Christopher Corbett              Distribution of 2016 BC/BS           8500-005                                        157.37                   2,582.44
                                                        Insurance Rebate
                                                        Stopped on 12/20/2018
 08/28/18     107      Christopher Farrell              Distribution of 2016 BC/BS           8500-000                                         66.36                   2,516.08
                                                        Insurance Rebate
 08/28/18     108      Ernest E. Fowler                 Distribution of 2016 BC/BS           8500-000                                         85.62                   2,430.46
                                                        Insurance Rebate
 08/28/18     109      Jerome Hammerbacher Jr           Distribution of 2016 BC/BS           8500-000                                        388.99                   2,041.47
                                                        Insurance Rebate
 08/28/18     110      Paul Allan A. Jacobs             Distribution of 2016 BC/BS           8500-000                                        157.37                   1,884.10
                                                        Insurance Rebate
 08/28/18     111      Michael W. Kostiha               Distribution of 2016 BC/BS           8500-000                                         89.99                   1,794.11
                                                        Insurance Rebate
 08/28/18     112      Antonio E. Lashley               Distribution of 2016 BC/BS           8500-000                                         85.62                   1,708.49
                                                        Insurance Rebate
 08/28/18     113      Antoine L. McElveen              Distribution of 2016 BC/BS           8500-004                                         83.20                   1,625.29
                                                        Insurance Rebate
                                                        Voided on 09/26/2018
 08/28/18     114      Kevin M. O'Donnell               Distribution of 2016 BC/BS           8500-005                                         83.20                   1,542.09
                                                        Insurance Rebate
                                                        Stopped on 12/20/2018
 08/28/18     115      Joel Eric Rocha                  Distribution of 2016 BC/BS           8500-000                                        570.60                    971.49
                                                        Insurance Rebate
 08/28/18     116      Karen A. Scardina                Distribution of 2016 BC/BS           8500-005                                         85.62                    885.87
                                                        Insurance Rebate
                                                        Stopped on 12/20/2018
 08/28/18     117      Deanna A. Dighans                Distribution of 2016 BC/BS           8500-000                                        697.25                    188.62
                                                        Insurance Rebate
 08/28/18     118      Gary P. Stevens                  Distribution of 2016 BC/BS           8500-000                                         55.47                    133.15
                                                        Insurance Rebate
 08/28/18     119      James Ramsay                     Distribution of 2016 BC/BS           8500-000                                        133.15                       0.00
                                                        Insurance Rebate
 09/26/18     104      Christopher Caldwell             Distribution of 2016 BC/BS           8500-004                                        -83.20                     83.20
                                                        Insurance Rebate
                                                        Voided: check issued on
                                                        08/28/2018
 09/26/18     113      Antoine L. McElveen              Distribution of 2016 BC/BS           8500-004                                        -83.20                    166.40
                                                        Insurance Rebate
                                                        Voided: check issued on
                                                        08/28/2018
                                                                                         Page Subtotals:         $3,500.29             $3,333.89


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                  ! - transaction has not been cleared
                                       Case 16-18041               Doc 211            Filed 11/17/20        Page 28 of 33

                                                                Form 2                                                                                 Exhibit 9
                                                                                                                                                       Page: 12
                                                Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                      Trustee Name:                    Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC                  Bank Name:                       Mechanics Bank
Taxpayer ID #:         **-***0898                                        Account #:                       ******2670 Escrow - BlueCross
For Period Ending:     10/27/2020                                        Blanket Bond (per case limit):   $3,000,000.00
                                                                         Separate Bond (if applicable):   N/A

    1            2                     3                                         4                              5                       6                          7

  Trans.    Check or       Paid To / Received From           Description of Transaction      Uniform        Deposit               Disbursement           Account Balance
   Date      Ref. #                                                                         Tran. Code        $                         $

 12/20/18     106      Christopher Corbett               Distribution of 2016 BC/BS          8500-005                                        -157.37                    323.77
                                                         Insurance Rebate
                                                         Stopped: check issued on
                                                         08/28/2018
 12/20/18     114      Kevin M. O'Donnell                Distribution of 2016 BC/BS          8500-005                                         -83.20                    406.97
                                                         Insurance Rebate
                                                         Stopped: check issued on
                                                         08/28/2018
 12/20/18     116      Karen A. Scardina                 Distribution of 2016 BC/BS          8500-005                                         -85.62                    492.59
                                                         Insurance Rebate
                                                         Stopped: check issued on
                                                         08/28/2018
 01/02/19     {22}     State of Montana                  Montana State Fund 2016             1229-000               2,164.79                                           2,657.38
                                                         Dividend
 01/11/19     120      CLERK OF THE US                   Unclaimed Funds                     8500-001                                        492.59                    2,164.79
                       BANKRUPTCY COURT
 01/11/19              To Account #******2667            Montana State Fund 2016             9999-000                                       2,164.79                       0.00
                                                         Dividend

                                           COLUMN TOTALS                                                            5,665.08                5,665.08                      $0.00
                                                  Less: Bank Transfers/CDs                                           113.08                 2,164.79
                                           Subtotal                                                                 5,552.00                3,500.29
                                                  Less: Payments to Debtors                                                                     0.00

                                           NET Receipts / Disbursements                                         $5,552.00                $3,500.29




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
                                      Case 16-18041               Doc 211            Filed 11/17/20        Page 29 of 33

                                                                Form 2                                                                             Exhibit 9
                                                                                                                                                   Page: 13
                                                Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                     Trustee Name:                    Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC                 Bank Name:                       Metropolitan Commercial Bank
Taxpayer ID #:         **-***0898                                       Account #:                       ******0919 Deposit Account
For Period Ending:     10/27/2020                                       Blanket Bond (per case limit):   $3,000,000.00
                                                                        Separate Bond (if applicable):   N/A

    1            2                    3                                         4                               5                     6                        7

  Trans.    Check or       Paid To / Received From          Description of Transaction      Uniform        Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                        Tran. Code        $                        $

 07/10/19              Transfer Credit from Rabobank,   Transition Credit from Rabobank,    9999-000           101,399.42                                      101,399.42
                       N.A. acct ******2666             N.A. acct 5013612666
 06/19/20              To Account #******0927           Transfer funds to disbursements     9999-000                                 101,399.42                      0.00
                                                        account in anticipation of TFR

                                          COLUMN TOTALS                                                        101,399.42            101,399.42                     $0.00
                                                 Less: Bank Transfers/CDs                                      101,399.42            101,399.42
                                          Subtotal                                                                    0.00                  0.00
                                                 Less: Payments to Debtors                                                                  0.00

                                          NET Receipts / Disbursements                                               $0.00                 $0.00




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                                      Case 16-18041               Doc 211            Filed 11/17/20        Page 30 of 33

                                                                Form 2                                                                                Exhibit 9
                                                                                                                                                      Page: 14
                                                Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                     Trustee Name:                    Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC                 Bank Name:                       Metropolitan Commercial Bank
Taxpayer ID #:         **-***0898                                       Account #:                       ******0935 FIB Escrow
For Period Ending:     10/27/2020                                       Blanket Bond (per case limit):   $3,000,000.00
                                                                        Separate Bond (if applicable):   N/A

    1            2                    3                                         4                               5                       6                         7

  Trans.    Check or       Paid To / Received From          Description of Transaction      Uniform        Deposit                Disbursement          Account Balance
   Date      Ref. #                                                                        Tran. Code        $                          $

 07/10/19              Transfer Credit from Rabobank,   Transition Credit from Rabobank,    9999-000           172,784.86                                         172,784.86
                       N.A. acct ******2668             N.A. acct 5013612668
 03/31/20              Metropolitan Commercial Bank     Bank and Technology Services        2600-000                                        225.42                172,559.44
                                                        Fees
 04/30/20              Metropolitan Commercial Bank     Bank and Technology Services        2600-000                                        450.38                172,109.06
                                                        Fees
 06/01/20     {22}     Master Machine Inc               Overbid on Remnant asset sale -     1229-000                8,500.00                                      180,609.06
                                                        to be held in escrow
 06/19/20              To Account #******0927           Transfer funds to disbursement      9999-000                                   180,609.06                       0.00
                                                        account in anticipation of TFR

                                          COLUMN TOTALS                                                        181,284.86              181,284.86                      $0.00
                                                 Less: Bank Transfers/CDs                                      172,784.86              180,609.06
                                          Subtotal                                                                  8,500.00                 675.80
                                                 Less: Payments to Debtors                                                                     0.00

                                          NET Receipts / Disbursements                                          $8,500.00                   $675.80




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
                                        Case 16-18041               Doc 211             Filed 11/17/20            Page 31 of 33

                                                                Form 2                                                                                      Exhibit 9
                                                                                                                                                            Page: 15
                                                Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                       Trustee Name:                         Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC                   Bank Name:                            Metropolitan Commercial Bank
Taxpayer ID #:         **-***0898                                         Account #:                            ******0927 Disbursements Account
For Period Ending:     10/27/2020                                         Blanket Bond (per case limit):        $3,000,000.00
                                                                          Separate Bond (if applicable):        N/A

    1            2                      3                                          4                                   5                       6                        7

  Trans.    Check or       Paid To / Received From           Description of Transaction           Uniform         Deposit                Disbursement         Account Balance
   Date      Ref. #                                                                              Tran. Code         $                          $

 07/10/19              Transfer Credit from Rabobank,    Transition Credit from Rabobank,         9999-000                 7,890.34                                          7,890.34
                       N.A. acct ******2667              N.A. acct 5013612667
 04/03/20    1000      Insurance Partners Agency, Inc.   Chapter 7 Trustee Bond 3/1/2020          2300-000                                         208.91                    7,681.43
                                                         to 3/1/2021
 05/07/20              To Recognize assignment of                                                                             0.00                                           7,681.43
                       Dighans Claim to WTP
              {24}     To Recognize assignment of        To Recognize assignment of               1129-000
                       Dighans Claim                     Dighans Claim
                                                                                  $70,000.00
                       WHITEFORD, TAYLOR &               To Recognize assignment of               3210-000
                       PRESTON, LLP                      Dighans Claim
                       WHITEFORD, TAYLOR &
                       PRESTON, LLP                                              -$70,000.00

 05/21/20     {22}     Oak Point Partners                Anticipated Receipt from sale of         1229-000                 6,500.00                                         14,181.43
                                                         Remnant Assets (Motion Pending -
                                                         Docket No. 185)
 05/21/20     {22}     Oak Point                         To reverse prior adjusting entry -       1229-000             -6,500.00                                             7,681.43
                                                         Oak Point was not the successful
                                                         bidder
 06/15/20     {22}     Master Machine                    Overbid payment for Remnant              1229-000                 2,000.00                                          9,681.43
                                                         Assets
 06/19/20              To Account #******0927            Transfer funds to disbursement           9999-000            180,609.06                                        190,290.49
                                                         account in anticipation of TFR
 06/19/20              To Account #******0927            Transfer funds to disbursements          9999-000            101,399.42                                        291,689.91
                                                         account in anticipation of TFR
 06/19/20    1001      WHITEFORD, TAYLOR &               Combined dividend payments for                                                       113,290.68                178,399.23
                       PRESTON, LLP                      Claim #WTP Carveout, WTP - Fee
                       WHITEFORD, TAYLOR &               Claims Distribution - Fri, 06-19-        3110-000
                       PRESTON, LLP                      2020
                                                                                  $72,290.68
                       WHITEFORD, TAYLOR &               Claims Distribution - Fri, 06-19-        3210-000
                       PRESTON, LLP                      2020
                                                                                  $41,000.00
 06/19/20    1002      3Cubed Advisory Servives, LLC     Combined dividend payments for                                                       157,877.32                    20,521.91
                                                         Claim #3C Carveout, 3Cubed -
                                                         Expense, 3Cubed - Fee
                       3Cubed Advisory Servives, LLC     Claims Distribution - Fri, 06-19-        3110-000
                                                         2020
                                                                                  $99,027.00
                       3Cubed Advisory Servives, LLC     Claims Distribution - Fri, 06-19-        3320-000
                                                         2020
                                                                                   $1,044.59
                       3Cubed Advisory Servives, LLC     Claims Distribution - Fri, 06-19-        3310-000
                                                         2020
                                                                                  $57,805.73
 09/15/20    1003      Charles R. Goldstein              Combined trustee compensation &          2100-000                                     20,379.08                      142.83
                                                         expense dividend payments.
 09/15/20    1004      CHARLES R. GOLDSTEIN,             Distribution payment - Dividend          2200-000                                         142.83                        0.00
                       Trustee                           paid at 35.62% of $401.00; Claim
                                                         # TE; Filed: $401.00




                                                                                              Page Subtotals:     $291,898.82              $291,898.82


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                        ! - transaction has not been cleared
                                     Case 16-18041               Doc 211            Filed 11/17/20        Page 32 of 33

                                                              Form 2                                                                               Exhibit 9
                                                                                                                                                   Page: 16
                                              Cash Receipts And Disbursements Record
Case No.:              16-18041-RED                                    Trustee Name:                    Charles R. Goldstein (400340)
Case Name:             PEERLESS SPECIALTY FLOORING, LLC                Bank Name:                       Metropolitan Commercial Bank
Taxpayer ID #:         **-***0898                                      Account #:                       ******0927 Disbursements Account
For Period Ending:     10/27/2020                                      Blanket Bond (per case limit):   $3,000,000.00
                                                                       Separate Bond (if applicable):   N/A

    1            2                   3                                         4                              5                       6                        7

  Trans.    Check or       Paid To / Received From         Description of Transaction      Uniform        Deposit               Disbursement         Account Balance
   Date      Ref. #                                                                       Tran. Code        $                         $


                                         COLUMN TOTALS                                                        291,898.82             291,898.82                    $0.00
                                                Less: Bank Transfers/CDs                                      289,898.82                    0.00
                                         Subtotal                                                                 2,000.00           291,898.82
                                                Less: Payments to Debtors                                                                   0.00

                                         NET Receipts / Disbursements                                          $2,000.00            $291,898.82




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                ! - transaction has not been cleared
                                     Case 16-18041               Doc 211        Filed 11/17/20             Page 33 of 33

                                                       Form 2                                                                            Exhibit 9
                                                                                                                                         Page: 17
                                       Cash Receipts And Disbursements Record
Case No.:           16-18041-RED                                      Trustee Name:                   Charles R. Goldstein (400340)
Case Name:          PEERLESS SPECIALTY FLOORING, LLC                  Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:      **-***0898                                        Account #:                      ******0927 Disbursements Account
For Period Ending: 10/27/2020                                         Blanket Bond (per case limit): $3,000,000.00
                                                                      Separate Bond (if applicable): N/A

                                       Net Receipts:                $1,018,726.59
                           Plus Gross Adjustments:                    $123,731.04
                         Less Payments to Debtor:                            $0.00
                 Less Other Noncompensable Items:                        $6,351.98

                                         Net Estate:                $1,136,105.65




                                                                                                         NET                     ACCOUNT
                                 TOTAL - ALL ACCOUNTS                              NET DEPOSITS     DISBURSEMENTS                BALANCES
                                 ******2666 Checking Account                            $925,525.43          $4,746.98                   $0.00

                                 ******2667 Checking Account                              $6,000.00              $270,039.97                 $0.00

                                 ******2668 FIB Escrow Account                           $71,149.16              $444,899.96                 $0.00

                                 ******2669 Health Insurance Escrow                           $0.00                $2,964.77                 $0.00

                                 ******2670 Escrow - BlueCross                            $5,552.00                $3,500.29                 $0.00

                                 ******0919 Deposit Account                                   $0.00                    $0.00                 $0.00

                                 ******0935 FIB Escrow                                    $8,500.00                  $675.80                 $0.00

                                 ******0927 Disbursements Account                         $2,000.00              $291,898.82                 $0.00

                                                                                      $1,018,726.59            $1,018,726.59                 $0.00




UST Form 101-7-TDR (10 /1/2010)
